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        Integrated Supply Network, LLC
   15
   16                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   17
   18    MONSTER ENERGY COMPANY,                  )   Case No. 5:17-CV-00548-CBM-(RAO)
         a Delaware corporation,                  )
   19                                             )   DECLARATION OF HAL PORET
                     Plaintiff,                   )
   20                                             )   Honorable Consuelo B. Marshall
               v.                                 )
   21                                             )
         INTEGRATED SUPPLY                        )   Date:                April 17, 2018
   22    NETWORK, LLC, a Florida limited          )   Time:                10:00 a.m.
         liability company,                       )
   23                                             )   Location:            Courtroom 8B
                     Defendant.                   )
   24                                             )
                                                  )
   25
                             DECLARATION OF HAL PORET
   26
              I, Hal Poret, declare as follows:
   27                                             1
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    1
              1.     I have personal knowledge of the matters set forth herein, and if I am
    2
        called upon to testify, I could testify competently thereto.
    3
              2.     I am the President of Hal Poret LLC.
    4
              3.     I have personally designed, supervised, and implemented over
    5
        1,000 surveys regarding the perceptions, behaviors, and opinions of consumers,
    6
        over 300 of which have concerned trademarks or trade dress.
    7
              4.     I have personally designed numerous studies that have been admitted
    8
        as evidence in legal proceedings and I have been accepted as an expert in survey
    9
        research on numerous occasions by U.S. District Courts, the Trademark Trial and
   10
        Appeal Board, the FTC, and the National Advertising Division of the Council of
   11
        Better Business Bureaus (NAD).
   12
              5.     I am a member of the American Association of Public Opinion
   13
        Research, publisher of Public Opinion Quarterly and the Journal of Survey
   14
        Statistics and Methodology, the International Trademark Association, and the
   15
        National Advertising Division of the Council of Better Business Bureaus (NAD).
   16
              6.     I routinely conduct market research surveys for a variety of small to
   17
        large corporations and organizations.
   18
              7.     I have frequently spoken at major intellectual property and legal
   19
        conferences on the topic of how to design and conduct surveys that meet legal
   20
        evidentiary standards for reliability, including conferences held by the
   21
        International Trademark Association (INTA), American Intellectual Property
   22
        Law Association, Practicing Law Institute, Managing Intellectual Property,
   23
        Promotions Marketing Association, American Conference Institute, and various
   24
        bar organizations.
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   27                                            2
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    1
              8.     I hold bachelor’s and master’s degrees in mathematics and a J.D.
    2
        from Harvard Law School. Additional biographical material, including lists of
    3
        testimony and publications, is provided in my attached Rebuttal Expert Report
    4
        and the Appendix attached thereto.
    5
              9.     I have been retained by Standley Law Group LLP, counsel for
    6
        Integrated Supply Network LLC, to review and provide opinions regarding a
    7
        Report and Survey prepared by Dr. Bruce Isaacson (hereinafter “the Isaacson
    8
        Report”) for Monster Energy Company in conjunction with the above-captioned
    9
        matter.
   10
              10.    A true and accurate copy of the Isaacson Report, as provided to me,
   11
        is attached to this Declaration as Exhibit 1.
   12
              11.    Dr. Isaacson’s survey purports to have measured the likelihood of
   13
        confusion between certain MONSTER MOBILE products of ISN and Monster
   14
        Energy Company.
   15
              12.    The Isaacson Report details Dr. Isaacson’s survey methodology and
   16
        Dr. Isaacson’s corresponding conclusions regarding a likelihood of confusion.
   17
              13.    In conjunction with my analysis of Dr. Isaacson’s survey, the
   18
        Isaacson Report, and other relevant materials, I prepared the Rebuttal Report
   19
        which is hereby attached to this declaration as Exhibit 2 (hereinafter “Rebuttal
   20
        Report”).
   21
              14.    I understand that my Rebuttal Report is being served on counsel for
   22
        Monster Energy Company pursuant to the scheduling order that has been entered
   23
        in this case and Federal Rule of Civil Procedure 26(a)(2).
   24
              15.    I hereby incorporate fully herein by reference my Rebuttal Report
   25
        and the Appendix attached thereto.
   26
   27                                            3
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    1
              16.    My Rebuttal Report contains, among other things, a true and
    2
        accurate summary of my qualifications and my analysis and a disclosure of my
    3
        opinions on Dr. Isaacson’s survey and the Isaacson Report.
    4
              17.    As discussed in my Rebuttal Report, Dr. Isaacson’s survey and the
    5
        corresponding Isaacson Report are fatally flawed and not reliable as an indicator
    6
        of likelihood of confusion.
    7
              18.    While there are several important flaws in Dr. Isaacson’s survey, I
    8
        believe that one severe flaw alone renders the results of Dr. Isaacson’s survey and
    9
        his conclusions unreliable.
   10
              19.    Specifically, Dr. Isaacson’s survey failed to simulate realistic
   11
        marketplace conditions under which individuals at auto service or repair shops
   12
        would encounter and consider purchase of the ISN products. As Dr. Isaacson
   13
        notes, the ISN products are sold to auto service or repair shops through mobile
   14
        tool trucks/distributors. Accordingly, a typical prospective customer of ISN
   15
        products would be exposed to the products through a mobile tool distributor from
   16
        a company such as Snap-On or through an independent distributor, and would be
   17
        presented with a wealth of context that heavily emphasizes the automotive
   18
        tool/equipment focus of the product line being offered. A prospective end
   19
        customer of the ISN products would clearly understand that they are dealing with
   20
        a mobile tool/equipment distributor who deals with auto professionals and that
   21
        the context of the situation is focused on automotive tools and equipment. They
   22
        would likely see a large assortment of Monster Mobile tools (including
   23
        packaging) and may also see an assortment of tools from other automotive tool
   24
        brands. They may also be shown catalogs or other materials showing the wide
   25
        array of automotive tool products from the Monster Mobile brand and/or other
   26
   27                                           4
   28
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    1
        brands of automotive tools and equipment. All of this context would have a
    2
        strong bearing on whether the prospective customer perceives the products to be
    3
        connected to an energy drink company (Monster Energy), as opposed to an
    4
        unrelated company that produces automotive tool products under its own brand
    5
        (Monster Mobile). The Isaacson Survey did nothing to simulate any such context.
    6
        It merely showed each respondent a single image of a single product in the
    7
        abstract, as if the product could be a random promotional item rather than a
    8
        product that is obviously from a brand specializing in tools and equipment
    9
        designed for automotive technicians. The survey did not inform respondents that
   10
        the product is sold by a mobile tool truck distributor, did not provide any other
   11
        information, materials or imagery that could simulate the relevant context of a
   12
        purchase from an automotive tool truck, and in most cases did not even show the
   13
        packaging and/or the entire product. Accordingly, the survey entirely fails to test
   14
        whether real consumers would make a mistaken connection to Monster Energy
   15
        under realistic marketplace conditions – i.e., a context where the prospective
   16
        purchaser would be heavily focused on the topic of automotive tools and would
   17
        certainly realize that the products come from a source with a specialty in tools
   18
        and equipment for automotive technicians and could not possibly think they are
   19
        looking at a random promotional item that has had the name “Monster” placed on
   20
        it.
   21
              20.    This and the other important flaws with Dr. Isaacson’s survey and
   22
        the Isaacson Report are fully detailed in my Rebuttal Report.
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   24
   25
   26
   27                                           5
   28
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